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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                OAKLAND DIVISION


   EPIC GAMES, INC.,                                   Case No. 4:20-cv-05640-YGR-TSH
                Plaintiff, Counter-defendant,
                     v.
   APPLE INC.,                                         RESPONSE TO APPLE’S OBJECTIONS
                    Defendant, Counterclaimant.        TO SPECIAL MASTER RULINGS ON
                                                       APPLE INC.’S PRODUCTIONS OF RE-
                                                       REVIEWED PRIVILEGED
                                                       DOCUMENTS


The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
         Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-
 Review Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following
 response to Apple’s Objections to the Special Masters’ rulings (“Objections”), filed on
 March 21, 2025. (Dkt. 1380.) Epic does not have access to the underlying documents and
 is therefore unable to fully assess the bases on which Apple claims privilege; Epic
 responds to Apple’s Objections on the limited information provided in Apple’s privilege
 logs for the documents.
  ●    Entry No. 1468 (PRIV-APL-EG_00162417)—Apple claims in its Objections that this
       document is a slide deck for a presentation by both in-house counsel (Jennifer Brown)
       and non-lawyers regarding injunction compliance requirements for link format and
       buttons. (Dkt. 1380 at 2.) Apple claims privilege on the basis that “[l]egal advice is
       directly reflected in the slides”, and that the slides “contain presentation notes from in-
       house counsel Ms. Brown.” Id. However, in its privilege log, Apple does not identify
       any attorneys involved with this presentation. What’s more, in its Objections, Apple
       concedes that this “is a slide deck for a presentation by both in-house counsel…and
       non-lawyers”; the fact that non-lawyers presented a portion of this deck, which
       addressed business and technical subjects including “link format and buttons”,
       strongly suggests that the deck is not appropriate for complete withholding. Id
       (emphasis added). If certain slides on their face disclose the contents of legal advice,
       such text could be redacted and the deck otherwise produced.
  ●    Entry No. 1514 (PRIV-APL-EG 00162841)—This is an email chain between non-
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     legal Apple executives, copying in-house counsel (Kate Adams, Kyle Andeer, Sean
     Dillon, Brendan McNamara, and Heather Grenier). Apple seeks to completely
     withhold this email chain, which addressed a public-facing “Spotify Decision
     Newsroom Post”. (Privilege Log Entry No. 1514.) In its Objections, Apple bases its
     privilege claim on the supposition that a “non-lawyer relays substantive legal advice
     regarding the anticipated decision that was given by in-house counsel” and that
     another non-lawyer responds to legal advice from in-house counsel, “seeking
     clarification and soliciting additional legal guidance.” (Dkt. 1380 at 3.) Yet Apple’s
     privilege log does not mention that nonlegal employees were transmitting legal advice
     given by counsel. (See Privilege Log Entry No. 1514.) The Special Master reviewed
     this email chain and rejected Apple’s privilege claim, and nothing in Apple’s
     Objections suggests that was error.
●    Entry No. 1555 (PRIV-APL-EG_00163001)—Apple seeks to redact this email chain
     between non-legal business executives and communications personnel, copying in-
     house counsel (Kate Adams, Sean Cameron, Ling Lew and Heather Grenier). In the
     corresponding privilege log entry, Apple notes that the emails contain “redacted text
     reflecting legal advice from employees acting under the direction of counsel”, which
     the Special Master apparently found unpersuasive and rejected Apple’s proposed
     redactions. (See Privilege Log Entry No. 1555.) Epic does not have access to the
     underlying communications and therefore cannot fully assess Apple’s privilege
     claims, but notes that the significant participation of non-legal business executives
     suggests that only narrow redactions—if any—would likely be appropriate.
●    Entry No. 1577 (PRIV-APL-EG 00163335)—Entry No. 1577 (which Apple mislabels
     in its Objections as Entry No. 1557) is reportedly a Quip document “containing a
     compilation of notes from a meeting for the purpose of obtaining legal advice from
     counsel regarding legal agreements for developers.” (Dkt. 1380 at 5.) Apple does not
     identify in either its privilege log entry or its Objections the employees who drafted
     these notes, which Apple seeks to completely withhold on the basis that the notes
     “provide information and questions directed to counsel for the purpose of obtaining
     legal advice.” (See Privilege Log Entry No. 1577.) To the extent these notes were
     written by non-legal employees and generically capture primarily business-focused
     discussions with in-house counsel, they are not privileged and should not be withheld.
     If these notes expressly memorialize legal advice, they should be narrowly redacted,
     but nothing in Apple’s Objections suggests that the Special Master erred in rejecting
     Apple’s attempt to completely withhold this document.
●    Entry No. 1589 (PRIV-APL-EG_00163791)—In its Objections, Apple maintains that
     this is a deck regarding a “Marketing Legal Discussion” of App Store Offers, in which
     two slides address “Legal Advice Topics”. (Dkt. 1380 at 6.) But Apple makes no
     mention of any attorney involved in either its privilege log entry or its Objections.
     And while Apple seems to claim privilege over only two slides in its Objections, it
     insists on complete withholding of the deck. (See Privilege Log Entry No. 1589.)
     Moreover, Apple’s privilege log and Objections offer inconsistent assertions of
     privilege: Apple’s privilege log claims that this deck “provid[es] information for the
     purpose of obtaining legal advice from counsel” while its Objections state that the
     deck features “marketing legal considerations and recaps of recent meetings and legal
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     advice provided therein”. Id. Nothing in Apple’s Objections suggests the Special
     Master erred in overruling Apple’s assertions of privilege over this document.
●    Entry No. 1595 (PRIV-APL-EG_00163931)—Apple represents in its Objections that
     this is an email chain between non-legal Apple employees Bri Cote and Ken Moore,
     copying in-house counsel Ling Lew, discussing “an update request for an external
     payment disclosure sheet”. (Dkt. 1380 at 7.) Apple’s privilege log notes that the
     email chain “reflec[ts] information for the purpose of obtaining legal advice”, and its
     Objections state that a non-lawyer “addresses the initial request to in-house counsel”,
     which purportedly shows an “intent to solicit legal advice”. (Id.; Privilege Log Entry
     No. 1595.) Unless this email chain discloses the contents of an employee’s express
     request for legal advice, or discloses the provision of legal advice from Ms. Lew, the
     communications are not privileged. The numerous non-legal employees on this email
     chains suggests that is unlikely to be the case.
●    Entry No. 1611 (PRIV-APL-EG_00163992)—This is an email chain among
     communications personnel, engineers, and two in-house counsel (Jennifer Brown and
     Ling Lew) discussing “injunction compliance and communications legal strategy”.
     (Privilege Log Entry No. 1611.) In its Objections, Apple claims that it has redacted
     Ms. Brown’s “legal perspective ahead of the new launch”, which purportedly contains
     legal advice. (Dkt. 1380 at 8.) The Special Master reviewed these emails and
     concluded that the redacted communications were not privileged. Epic does not have
     access to the underlying communications and is therefore unable to fully assess the
     proposed redactions.
●    Entry No. 1665 (PRIV-APL-EG 00164287)—This is reportedly a draft presentation,
     entitled “Russian Enforcement Challenges”, providing an “overview of several
     ongoing regulatory and litigation matters in Russia.” (Dkt. 1380 at 9.) Apple seeks to
     completely withhold this presentation, and predicates its assertion of privilege on the
     legal advice “reflect[ed]” in the presentation. (Privilege Log Entry No. 1665.) In both
     its privilege log entry and Objections, Apple does not identify a single attorney
     involved with this presentation, and simply offers the repetitive claim that documents
     “reflec[t]” legal advice, which only merits withholding as privileged where the
     document, on its face, discloses the contents of legal advice or an express request for
     legal advice. To the extent this presentation does convey legal advice—or constitute
     attorney work product as Apple suggests in its privilege log—such text should be
     redacted and the presentation otherwise produced.
●    Entry No. 1674 (PRIV-APL-EG 00164493)—In its Objections, Apple characterizes
     this document as an email exchange between non-legal employees “forwarding a
     series of updates from both in-house counsel and non-attorneys to in-house counsel
     Heba Hamouda regarding the status of ongoing foreign activities.” (Dkt. 1380 at 10.)
     But Apple did not identify any attorneys in its privilege log entry, and may not
     augment its privilege log with its Objections. And Apple does not claim, in either its
     privilege log entry or its Objections, that the redacted text discloses the contents of
     legal advice, nor that an employee is directly soliciting legal advice; rather, we are told
     of an anonymously-provided “update…on the status of foreign activities” and legal
     advice “reflect[ed]” in communications, another imprecise privilege claim that the
     Special Master rejected.
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●    Entry No. 1732 (PRIV-APL-EG 00165181)—Apple claims in its Objections that this
     is a draft exhibit and disclosure schedule related to a share purchase agreement sent by
     in-house counsel Christina Buser. However, in its privilege log entry Apple does not
     expressly state that Ms. Buser sent this email, but only lists Ms. Buser under a separate
     column as an “Attorney…acting at the direction of counsel.” (See Privilege Log Entry
     No. 1732.) The Special Master reviewed this document and determined that it was not
     privileged. To the extent the document does contain “draft contractual language” as
     Apple claims in its Objections, this text could be narrowly redacted and the document
     otherwise produced; Apple has not furnished any compelling reason to completely
     withhold the document.
●    Entry No. 1795 (PRIV-APL-EG_00166218)—Apple maintains in its Objections that
     this document titled “App Store Legal Follow Ups” is a list of notes on legal issues
     that “remained open regarding the App Store.” (Dkt. 1380 at 12.) Apple does not
     identify the employee who drafted this document, nor does it expressly state that Amy
     Dobrzynski, the attorney referenced in its privilege log entry, actually requested this
     list. The Special Master reviewed the document and rejected Apple’s attempt to
     completely withhold it as privileged; Epic does not have access to the underlying
     document and thus cannot fully assess Apple’s objection to that ruling.
●    Entry No. 1888 (PRIV-APL-EG 00166918)—Apple represents in its Objections that
     this is a Quip document “containing a list of tax questions” reportedly “posed to
     counsel for the purpose of obtaining legal advice.” (Dkt. 1380 at 13.) Apple seeks to
     withhold this document in its entirety. Apple does not identify the employee who
     drafted this list, nor does it state that the employee expressly requested legal advice,
     nor does it identify to whom the legal questions are posed. Rather, Apple merely
     notes in its Objections that in-house counsel Armando Cordoves, Jason Cody, Ling
     Lew, and Nicole Ewart were “listed as users of the shared file”. Id. The fact that in-
     house attorneys had access to—or even did access—a document does not render the
     document privileged.
●    Entry No. 2136 (PRIV-APL-EG 00170509)—This is an email chain titled “Fwd:
     Amazon Prime Video I[ndia] payments questions”—ostensibly a business-focused
     discussion topic. The email chain starts with messages between non-legal Apple and
     Amazon employees, messages eventually forwarded to Apple in-house counsel Jason
     Cody, Prince Zhandire, Katharina Kashishian, Pam Reid, and Ian Marshall to answer
     questions related to “compliance with India’s regulations.” (Dkt. 1380 at 14.)
     Apple’s privilege log entry does not claim that in-house counsel provides legal advice,
     but only that the emails “reflec[t] information for the purpose of rendering legal advice
     from counsel”. (Privilege Log Entry No. 2136.) Unless these emails on their face
     disclose the contents of legal advice or solicit legal advice, they should not be
     withheld as privileged.


DATED: March 25, 2025                             CRAVATH, SWAINE & MOORE LLP
                                                  By: /s/ Yonatan Even
                                                  Counsel for Plaintiff Epic Games, Inc.
